                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION


 KRYSTAL WAGNER, individually, and as                      Case No. 3:19-cv-3007-KEM
 Administrator of the Estate of Shane
 Jensen,

        Plaintiffs,                                MOTION FOR EXTENSION OF TIME TO
                                                    FILE RESISTANCE TO DEFENDANT’S
 v.                                                MOTION FOR SUMMARY JUDGMENT
                                                               (Unresisted)
 WILLIAM (BILL) L. SPECE,

        Defendant.


       COMES NOW the Plaintiff, Krystal Wagner, by and through her undersigned attorneys,

and hereby requests an extension of time to file Plaintiff’s Resistance to Defendant’s Motion for

Summary Judgement and in support states to the Court as follows:

       1.      Defendant filed a Motion for Summary Judgment on November 1, 2021.

       2. Plaintiff’s Resistance to Defendant’s Motion for Summary Judgment is due

November 22, 2021.

       3.      Due to other pressing matters Plaintiff’s counsel has not had time to devote to

draft and finalize the Resistance and asks for an extension until December 2, 2021.

       4.      Plaintiff’s counsel has conferred with Defendant’s counsel regarding an extension

to file the Resistance, and Defendant has no objection. Defense counsel has requested an

extension to file a Reply brief until December 20, 2021.

       5.      This motion is not made to solely delay or hinder these proceedings, but rather

based upon good cause as set forth herein.




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       WHEREFORE, Plaintiff, respectfully requests that the Court grant an extension of time

to filer her Resistance to Defendant’s Motion for Summary Judgment to December 6, 2021 and

provide Defendant until December 20, 2021, to file any Reply, for the reasons set forth above

and order such other and further relief as it deems just and equitable in the premises.

                                              Respectfully submitted:

                                              /s/ David A. O’Brien
                                              David A. O’Brien AT0005870
                                              Dave O’Brien Law
                                              1500 Center St. NE
                                              Cedar Rapids, IA 52402
                                              Telephone: (319) 861-3001
                                              Facsimile: (319) 861-3007
                                              E-mail: dave@daveobrienlaw.com


                                              /s/ Brooke Timmer
                                              TIMMER & JUDKINS, P.L.L.C.
                                              Brooke Timmer AT0008821
                                              brooke@timmerjudkins.com
                                              Century II Building
                                              1415 28th Street, Suite 375
                                              West Des Moines, IA 50266
                                              Telephone: (515) 259-7462
                                              Fax: (515) 361-5390
                                              ATTORNEYS FOR PLAINTIFF

                         CERTIFICATE OF SERVICE AND FILING


       The undersigned hereby certifies that on November 18, 2021, I filed the foregoing with the
Clerk of Court using CM/ECF system. Notice of Electronic Filing will be sent by operation of
CM/ECF to all counsel of record registered.

Copy to:

THOMAS J. MILLER
Iowa Attorney General
JEFFREY C. PETERZALEK
TESSA REGISTER
Assistant Attorney Generals
Hoover State Office Building, 2nd Floor
1305 E. Walnut
                                                 2

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Des Moines, IA 50319
Ph: (515) 281-4213
Fax: (515) 281-4209
E-mail: Jeffrey.Peterzalek@ag.iowa.gov
E-mail: Tessa.Register@ag.iowa.gov
ATTORNEYS FOR DEFENDANTS

                                             /s/ Julia Daugherty
                                             Julia Daugherty




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